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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Newport News Division


 ___________________________________________
 HARRY L. GOODRICH and                     :
 AGNES P. GOODRICH,                        :
                                           :
             Plaintiffs,                   :
                                           :
 v.                                        :                 Civil Action No.: 4:17cv9
                                           :
 AIR & LIQUID SYSTEMS CORPORATION, :
 et al.                                    :
             Defendants.                   :
 ___________________________________________
                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        NOW COME the plaintiffs, Harry L. Goodrich and Agnes P. Goodrich [hereinafter

 “Goodrich”] and the defendant Crane Co., by and through their respective counsel, and represent

 to the Court that all matters in controversy between Goodrich and Crane Co., have been resolved

 and compromised, and they accordingly stipulate that this action be dismissed pursuant to

 Federal Rule of Civil Procedure 41, as against Crane Co. This Joint Stipulation of Dismissal

 shall apply only to Crane Co. Each party shall bear its own costs and attorneys’ fees in this

 matter. This lawsuit shall continue against all other defendants not specifically named herein




                                                      Respectfully submitted,
                                                      This 27th Day of December, 2017.
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                                CERTIFICATE OF SERVICE

                I hereby certify that on the _27th_ day of December, 2017, I electronically filed
  the foregoing with the Clerk of Court using the CM/ECF system, which will then send a
  notification of such filing (NEF) to the following:
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                                              By:_/s/ Hugh B. McCormick, III_
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